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                                                                                 2018 Aug-21 PM 01:58
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

SANGITA BHAGAT,
    PLAINTIFF,
                                                     CIVIL ACTION NO.:
v.                                                   2:17-CV-1139-KOB

EQUIFAX INFORMATION
SERVICES, INC., ET AL.,
    DEFENDANTS.

      ORDER OF DISMISSAL OF PLAINTIFF’S CLAIMS AGAINST
       DEFENDANT EQUIFAX INFORMATION SERVICES LLC
                      WITH PREJUDICE

      In accordance with the parties’ Joint Stipulation of Dismissal of Defendant

Equifax Information Services LLC, with Prejudice, filed on August 20, 2018, (Doc.

54), the court orders that this action against Equifax Information Services LLC shall

be, and is, DISMISSED WITH PREJUDICE. Said parties to bear their own

costs and attorneys’ fees and are taxed as paid.

      DONE and ORDERED this 21st day of August, 2018.



                                       ____________________________________
                                       KARON OWEN BOWDRE
                                       CHIEF UNITED STATES DISTRICT JUDGE




                                      {MB316777.1}
